
867 A.2d 1039 (2005)
385 Md. 122
In the Matter of the Application of Frank M. COSTANZO for Admission to the Bar of Maryland.
Misc. No. 4, September Term, 2004.
Court of Appeals of Maryland.
February 9, 2005.
Frank M. Costanzo, Baltimore, for applicant.
Argued before BELL, C.J., RAKER, WILNER, CATHELL, HARRELL, BATTAGLIA and GREENE, JJ.

ORDER
ROBERT M. BELL, Chief Judge.
The Court having considered the favorable recommendation of the State Board of Law Examiners for admission to the Bar of Maryland of the applicant, Frank M. Costanzo, the dissent of State Board member, John F. Mudd, Esquire, applicant's memorandum in support of his application and the oral argument of applicant's counsel presented at a hearing held before this Court on February 3, 2005, it is this 9th day of February, 2005
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the favorable recommendation of the State Board of Law Examiners be, and it is hereby, accepted, and it is further
ORDERED, that the applicant, Frank M. Costanzo, upon taking the oath prescribed by the statute, be admitted to the practice of law in this State.
